Case 2:20-cv-03369-DSF-PJW Document 18 Filed 12/01/21 Page 1 of 2 Page ID #:169

                                                                                   JS-6
   1 Marytza J. Reyes (SBN 218684)
      reyes@sanchez-amador.com
   2 Jessica M. Iglesias (SBN 280484)
      iglesias@sanchez-amador.com
   3 SANCHEZ & AMADOR, LLP
     800 S. Figueroa Street, Suite 1120
   4 Los Angeles, California 90017
     (213) 955-7200 Tel
   5 (213) 955-7201 Fax
   6 Attorneys for Defendant Wells Fargo
     Bank, N.A. (erroneously sued as “Wells
   7 Fargo & Company”)
   8                                   UNITED STATES DISTRICT COURT
   9                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10
  11 ROWENA KAMARATUNGA,                               Case No. CV 20-03369 DSF
  12                      Plaintiff,                   [Assigned to Hon. Dale S. Fischer]
  13              v.
                                                       ORDER GRANTING STIPULATED
  14 WELLS FARGO BANK &                                REQUEST FOR DISMISSAL
     COMPANY, a corporation; and DOES
  15 1 THROUGH 50, inclusive,
  16                      Defendants.
                                                       Date Filed:       February 5, 2020
  17                                                   Trial Date:       N/A
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
       391122.1
                               ORDER GRANTING STIPULATED REQUEST FOR DISMISSAL
Case 2:20-cv-03369-DSF-PJW Document 18 Filed 12/01/21 Page 2 of 2 Page ID #:170




   1                                              ORDER
   2              Pursuant to the request filed by the Parties under Federal Rules of Civil
   3 Procedure Rule 41 and good cause appearing therefor, the Court orders as follows:
   4 The entire action is hereby DISMISSED.
   5              IT IS SO ORDERED.
   6   DATED: December 1, 2021
   7
                                                  Honorable Dale S. Fischer
   8                                              UNITED STATES DISTRICT JUDGE
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
       391122.1
                                                      2
                             ORDER GRANTING STIPULATED REQUEST FOR DISMISSAL
